                      Case 1:19-cv-00150-DLF Document 35 Filed 04/30/19 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


                                                               )
                             Plaintiff                         )
                                v.                             )      Case No.
                                                               )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

                                                                                                                       .


Date:
                                                                                          Attorney’s signature



                                                                                     Printed name and bar number




                                                                                                Address



                                                                                            E-mail address



                                                                                          Telephone number



                                                                                             FAX number
